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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

EQUAL RIGHTS CENTER,                           *

               Plaintiff                       *

       v.                                      *          CIVIL NO. JKB-13-1201

DETRICK PLAZA APARTMENTS, et al.               *

               Defendants.                     *
*      *       *     *     *        *      *       *      *       *      *        *    *

                                           ORDER


       In light of the Stipulation of Dismissal by the parties on August 7, 2013 (ECF No. 22),

with the dismissal accomplished by operation of law pursuant to Rule 41(a)(1), Federal Rules of

Civil Procedure, the Court DIRECTS the Clerk to close the case.



DATED this 8th day of August, 2013.


                                                   BY THE COURT:



                                                                  /s/
                                                   James K. Bredar
                                                   United States District Judge
